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 4
     Attorney for Defendant
 5   LUIS ARMANDO DE LA HERRAN MEZA

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 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,               )
11                                           )          No. CR S-05-189 LKK
                    Plaintiff,               )
12                                           )
          v.                                 )
13                                           )          ORDER
     LUIS ARMANDO DE LA HERRAN MEZA, et al., )
14                                           )
                    Defendants.              )
15   ________________________________________)

16
17        The above matter came on for status conference on January 4,

18   2006.    Plaintiff was represented by Assistant United States Attorney

19   Mary Grad.     Defendant de la Herran Meza was represented by Assistant

20   Federal    Defender    Tim   Zindel.      Defendant    Jorge    Meza-Felix   was

21   represented by Robert Wynne.           At the request of the parties, the

22   matter was continued to January 31, 2006, at 9:30 a.m. for further

23   status conference.       Time was excluded under Local Code T-4 to allow

24   for attorney preparation and consideration of pending plea offers.

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26   DATED:    January 26, 2006          /s/ Lawrence K. Karlton
                                         HON. LAWRENCE K. KARLTON
27                                       United States District Judge

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